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 GREENBERG TRAURIG, LLP
 IAN C. BALLON (SBN 141819)
 WENDY M. MANTELL (SBN 225544)
 LORI CHANG (SBN 228142)
 2450 COLORADO AVENUE, SUITE 400E
 Santa Monica, California 90404
 Telephone: (310) 586-7700
 Facsimile: (310) 586-7800
 Email: balloni@gtlaw.com,
 mantellw@gtlaw.com, changl@gtlaw.com
 Attorneys for Plaintiff
 MYSPACE, INC.

                            UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
  MYSPACE, INC., a Delaware               CASE NO. CV-07-1929 ABC (AGRx)
  Corporation,
                                          DECLARATION OF KEVIN
               Plaintiff,                 DATOO IN SUPPORT OF
                                          MYSPACE, INC.'S MOTION FOR
  VS.                                     DEFAULT JUDGMENTS AGAINST
                                          DEFENDANTS SANFORD
  SANFORD WALLACE D/B/A                   WALLACE AND WALTER RINES
  FREEVEGASCLUBS.COM, REAL-
  VEGAS-SINS.COM, and FEEBLE
  MINDED PRODUCTIONS, an                  Filed Concurrently With:
  individual; WALTER RINES, an            Notice of Motion and Motion;
  individual; ONLINE TURBO                Memorandum of Points and
  MERCHANT, INC., a corporation;          Authorities; Declarations of Lori
  and ODYSSEUS MARKETING,                 Chang Shing, Yin Khor and Joseph
  INC., a corporation,                    Marotta; and [Proposed] Order.
               Defendants.                Date: May 12, 2008
                                          Time: 10:00 a.m.
                                          Ctrm: 680
                                          Judge: Hon. Audrey B. Collins




                    DECLARATION OF KEVIN DATOO IN SUPPORT OF MYSPACE'S
                    MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
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            1                         DECLARATION OF KEVIN DATOO
         2        I, Kevin Datoo, do declare as follows:
         3        1.       I am the Vice-President of Corporate Development/Mergers and
         4 Acquisitions for Fox Interactive Media (FIM). The following facts are known by me to
         5 be true and correct and if called as a witness I could and would competently testify
        6 thereto under oath.
        7         2.       MySpace, Inc. ("MySpace") is the owner of federally registered trademarks
        8 for MYSPACE and MYSPACE A PLACE FOR FRIENDS and design, among others.
        9 Attached hereto as Exhibit A is a true and correct copy of MySpace's Certificates of
       10 registration from the United States Patent and Trademark Office for the MYSPACE and
       11 MYSPACE A PLACE FOR FRIENDS and design trademarks. Attached hereto as
       12 Exhibit B is a chart of MySpace's current trademark registrations worldwide, of which
       13 there are 71.
       14         3.       Since its launch in mid-2003, MySpace.com has become the second most
       15 visited website in the world, attracting more than 220 million registered users and
       16 generating more than 27 billion page views per month.
       17        4.        In July 2006, as reported by the popular press, the MySpace.com website
       18 ranked first for the most page views, topping Yahoo Mail, Yahoo, Google and MSN.
       19 Attached hereto as Exhibit C is a true and correct copy of a July 12, 2006 article that
       20 appeared on cbsnews.com entitled "MySpace Pulls Ahead In Page View Race" reporting
       21 that fact. As of December 2007, as reported by ComScore Media Metrics, MySpace still
       22 held the position.of first ranked web domain in terms of page views among the top 2000
       23 domains.
       24        5.        MySpace is consistently reported about in the press. Attached hereto as
       25 Exhibit D are true and correct copies of various articles about MySpace that appeared in
       26 the popular press in January and February 2008.
       27        6.        MySpace spent $2.6 million in 2007 promoting the MySpace trademarks
       28 and brand through sponsorship or promotion of concerts, live music and video streaming
                                DECLARATION OF KEVIN DATOO IN SUPPORT OF MYSPACE'S
                                MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
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            1 events, industry events and conferences, parties, and festivals. It is forecasted that
         2 MySpace will spend $8 million in 2008 on similar promotional advertising.
         3           I declare under penalty of perjury under the laws of the State of California that the
         4 foregoing is true and correct and that this Declaration was executed on April 18, 2008 at
         5 Beverly Hills, California.
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         7                                                          Kevin Datoo
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                                 DECLARATION OF KEVIN DATOO IN SUPPORT OF MYSPACE'S
                                 MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
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     1                                                 PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
           I am employed in the aforesaid county, State of California; I am over the age of 18 years and not a party
 3 to the within action; my business address is 2450 Colorado Avenue, Suite 400E, Santa Monica, California 90404.

 4         On April 18, 2008, I served the DECLARATION OF KEVIN DATOO IN SUPPORT PLAINTIFF
   MYSPACE, INC.'S NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENTS AGAINST
 5 DEFENDANTS SANFORD WALLACE AND WALTER RINES; on the interested parties in this action by
   placing the true copy thereof, enclosed in a sealed envelope, postage prepaid, addressed as follows:
 6        N     (BY MAIL)
                           I am readily familiar with the business practice of my place of employment in respect to the
 7                  collection and processing of correspondence, pleadings and notices for mailing with United States
                    Postal Service. The foregoing sealed envelope was placed for collection and mailing this date
 8                  consistent with the ordinary business practice of my place of employment, so that it will be picked up
                    this date with postage thereon fully prepaid at Santa Monica, California, in the ordinary course of such
 9                  business.

10                   Sanford Wallace                                Walter Rines
                     7800 S. Rainbow Blvd., Apt. 1118               6 Laurel Lane
11
                     Building 26                                    Stratham, NH 03885
12                   Las Vegas, NV 89139

13                   Sanford Wallace
                     6130 W. Flamingo Rd. #205
14
                     Las Vegas, NV 89103
15
                  (BY OVERNITE EXPRESS)
16
                    I am readily familiar with the business practice of my place of employment in respect to the collection
                    and processing of correspondence, pleadings and notices for delivery by Overnite Express. Under the
17                  practice it would be deposited with Overnite Express on that same day with postage thereon fully
                    prepared at Santa Monica, California in the ordinary course of business. I am aware that on motion of
18                  the party served, service is presumed invalid if delivery by Overnite Express is more than one day after
                    date of deposit with Overnite Express.
19
                     Sanford Wallace                                  Sanford Wallace
20                   7800 S. Rainbow Blvd., Apt. 1118                6130 W. Flamingo Rd. #205
                     Building 26                                     Las Vegas, NV 89103
21                   Las Vegas, NV 89139

22
          [s]   (FEDERAL) I declare under penalty of perjury that the foregoing is true and correct, and that
23                        I am employed at the office of a member of the bar of this Court at whose
                          direction the service was made.
24
                  Executed on April 18, 2008, at Santa Monica, Californ
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                                                                                                  ure
26
                                                                                     Jacq      n Zwirn
27
                                                                                            Print Name
28
                                                     PROOF OF SERVICE
